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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

E.N. BISSO & SON, INC.                           §             CIVIL ACTION No.: 2:19-cv-14666
                                                 §
VS.                                              §             SECTION “E”
                                                 §
M/V DONNA J. BOUCHARD, her tackle,               §             DIVISION “1”
furniture, apparel, appurtenances, etc. in rem,  §
and the Barge B. NO. 272, her tackle, furniture, §             JUDGE MORGAN
apparel, appurtenances, etc. in rem and          §
BOUCHARD TRANSPORTATION CO.,                     §             MAGISTRATE VAN MEERVELD
INC. in personam                                 §
                                                 §

                       VERIFIED COMPLAINT IN INTERVENTION

       NOW INTO COURT through undersigned counsel, comes Plaintiff/Intervenor Louisiana

Machinery Company, L.L.C., d/b/a Resource Power Group, (“ LA Machinery”), and files this

Verified Complaint in Intervention (the “Verified Complaint”) to assert claims against the M/V

DONNA J. BOUCHARD (the “M/V DONNA J. BOUCHARD”) and Barge B. NO. 272 (the

“Barge”), and the respective tackle, furniture, apparel, appurtenances for each vessel, in rem

(together, the “Vessels”) and Bouchard Transportation Co., Inc.. in personam, (“Bouchard,” and

together with the Vessels, the “Defendants”), and in support thereof, respectfully represents as

follows:

                                                1.

      This is an admiralty and maritime action to foreclose upon a maritime lien for equipment

and maintenance support to the Vessels and for suit on open account, within the jurisdiction of the

United States of America and this Honorable Court pursuant to 28 U.S.C. § 1333 and within the

meaning of Rule 9(h) of the Federal Rules of Civil Procedure and the Supplemental Rules

Governing Certain Admiralty and Maritime Claims, specifically Supplemental Admiralty Rules C

and E. The Court also has jurisdiction over this action pursuant to the Federal Maritime Lien Act
                                                1
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46 U.S.C. § 31341, et seq.

                                                 2.

       Venue is proper in this District pursuant to 27 U.S.C. § 1391(b).

                                                 3.

       At all relevant times, LA Machinery was and is a limited liability company organized and

existing under the laws of the State of Louisiana, where it supplies engines, engine parts, and other

maintenance support services for vessels.

                                                 4.

       Defendant Vessels are an Articulated Tug/Barge unit that comprises the Barge and towing

vessel M/V DONNA J. BOUCHARD bearing United States Coast Guard Documentation Number

1257374, IMO Number 9753181, which is registered under the laws of the United States. The

Vessels are currently located within this District subject to Warrants of Arrest which were served

on the Vessels on December 18, 2019. See ECF Doc. Nos. 8, 9.

                                                 5.

       At all material times herein, defendant Bouchard was and is a corporation organized under

the laws of State of New York, which is authorized to do and doing business within the jurisdiction

of this Honorable Court. Bouchard was and is the registered owner/operator of the Vessels.

Service of process may be made upon Bouchard by serving Morton S. Bouchard III at 48 South

Service Road, Suite 150, Melville, New York 11747.

                                          COUNT I
                                       SALE OF VESSEL

                                                 6.

       Between November 10, 2017 and July 4, 2019, LA Machinery provided equipment and

repair support on behalf of Bouchard on open account as evidenced by the invoices attached hereto
                                                 2
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and incorporated by reference as Exhibit “A.” (the “Invoices”).1 Despite providing such equipment

and repair support and requesting payment thereon, Bouchard has failed to pay any amounts owed

under the Invoices, which are due and owing in the principal amount of no less than $62,898.76.

                                                      7.

        Among these services, LA Machinery provided equipment for the Vessels on or about two

dates, November 20, 2018 and May 2, 2019, in the amounts of $2,609.48 and $13,224.77,

respectively, on behalf of Bouchard and the Vessels, at Bouchard’s request, including sensors,

gaskets, a water pump, and a valve assembly, as reflected in Invoice Nos. P43C7054851 and

P43C7220917 (the “Donna Bouchard Invoices”). See Exhibit A, pp. 9, 14. Bouchard has failed to

satisfy the amounts due and owing under the Donna Bouchard Invoices in the principal amount of

$14,915.17, after receiving a credit for partial payment in the amount of $919.08.

                                                      8.

       The equipment LA Machinery provided to the Vessels constitute necessaries under the

Federal Maritime Lien Act, 46 USC § 31341, et seq.

                                                      9.

         LA Machinery sent Bouchard the Donna Bouchard Invoices in the amount of $15,834.25,

evidencing in detail the parts and equipment provided to the Vessels described above, including the

date such necessaries were provided. See Exhibit A, pp. 9, 14. As established therein and the Invoice

Aging Report attached hereto as Exhibit “B,” the total principal amount for which Bouchard and

the Vessels are jointly liable to LA Machinery under the Donna Bouchard Invoices is $14,915.17.



1
  As reflected in the Invoices, there are amounts owed to LA Machinery from Bouchard and vessels owned and/or
operated by Bouchard for which LA Machinery does not seek recovery in this action. LA Machinery intends to
recover such amounts in future proceedings, if necessary, and hereby expressly reserves, and does not waive, any
rights to seek such amounts from Bouchard and those vessels, the credit of which LA Machinery relied upon and
continues to rely upon for repayment of amounts due to LA Machinery, along with the credit of Bouchard.
                                                       3
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                                                  10.

        The Donna Bouchard Invoices reflect necessaries provided and work performed on the order

of or for the benefit of the Vessels and Bouchard. The charges shown on the Donna Bouchard

Invoices were specifically requested and agreed to by the Vessels and Bouchard, and are fair and

reasonable for the work related to the operations of the Vessels and Bouchard.

                                                  11.

       Despite amicable demand, Bouchard and the Vessels have failed to make proper payment

for the parts and equipment provided by LA Machinery as reflected in the Donna Bouchard

Invoices, which remain past due and owing to LA Machinery in the principal amount of $14,915.17.

                                                  12.

        The equipment provided by LA Machinery give rise to maritime liens against the Vessels

under general maritime law and the Federal Maritime Lien Act, 46 U.S.C. § 31341, et seq., entitling

LA Machinery to have the Vessels sold to satisfy the debt pursuant to Rules C and E of the

Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil

Procedure.

                                                  13.

        LA Machinery thus has a maritime lien against the Vessels for the unpaid balances under

the Donna Bouchard Invoices, together with attorney's fees of 25% of the amount sought to be

collected, interest, costs and any other recoverable damages.

                                            COUNT II
                                     SUIT ON OPEN ACCOUNT

                                                  14.

        LA Machinery incorporates and restates in this Count II all foregoing allegations in the Verified

Complaint as if set forth fully herein.
                                                   4
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                                                      15.

        Bouchard is justly and truly indebted to LA Machinery in the principal amount of no less

than $62,898.76, together with interest at the maximum amount allowed by law, until finally paid,

and for all costs incurred in connection herewith, pursuant to Louisiana Revised Statute § 9:2781,

for the following reasons, to wit.

                                                      16.

        From November 10, 2017 to July 4, 2019, LA Machinery provided goods and repair support

to Bouchard, which maintained an open account with LA Machinery and incurred charges for

those goods in an amount no less than $62,898.76.

                                                      17.

        LA Machinery issued Invoices2 for the equipment provided to Bouchard and/or the

Vessels, which are attached hereto as Exhibit A and incorporated herein by reference.

                                                      18.

        The charges shown in the Invoices were specifically requested, agreed to, and are fair and

reasonable for the work performed by LA Machinery and furnished to Bouchard and/or the Vessels.

                                                      19.

        Despite amicable demand and adequate notice, Bouchard has not paid the balance due on

the account nor attempted to make arrangements with LA Machinery to satisfy the outstanding

amount.

                                                      20.



2
  As reflected in the Invoices, there are amounts owed to LA Machinery from Bouchard and vessels owned and/or
operated by Bouchard for which LA Machinery does not seek recovery in this action. LA Machinery intends to
recover such amounts in future proceedings, if necessary, and hereby expressly reserves, and does not waive, any
rights to seek such amounts from Bouchard and those vessels, the credit of which LA Machinery relied upon and
continues to rely upon for repayment of amounts due to LA Machinery, along with the credit of Bouchard.
                                                       5
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       Accordingly, LA Machinery is entitled to recover the principal balance due on open

account, $62,898.76, together with the maximum legal interest allowed by law, costs of these

proceedings, reasonable attorneys’ fees, and any other legal and equitable relief as the Court deems

just and proper.

       WHEREFORE, Louisiana Machinery, d/b/a Resource Power Group, prays that

Defendants be cited to appear and answer the Complaint and:

1)      That this Verified Complaint be deemed good and sufficient;

2)      That process in due form of law, according to the practice of this Court in cases of

        admiralty jurisdiction, issue against Bouchard Transportation, Co., Inc., in personam,

        citing it to appear and answer this Verified Complaint;

3)      That process according to the rules and practices of this Court in causes of admiralty and

        maritime jurisdiction, particularly Rules C and E of the Supplemental Rules of Certain

        Admiralty and Maritime Procedures issue against the M/V DONNA J. BOUCHARD and

        the Barge B. NO. 272, their engines, tackle, boilers, equipment, appurtenances, etc., and

        any other property aboard said vessel, in rem;

4)      That a judgment be entered in favor of Louisiana Machinery, LLC d/b/a Resource Power

        Group, against the M/V DONNA J. BOUCHARD and the Barge B. NO. 272, in rem, in

        the amount of $14,915.17, and that there be judgment herein against Bouchard

        Transportation Co., Inc., in personam, for the principal amount of $62,898.76, on open

        account, together with costs, expenses, interest and attorney's fees as set forth above; and

5)      That this Court grant Louisiana Machinery, LLC d/b/a Resource Power Group such other

        and further relief which it may deem just and proper.




                                                 6
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LUGENBUHL, WHEATON, PECK               Respectfully submitted,
   RANKIN & HUBBARD
                                       _/s/ Stewart F. Peck_______________
                                       STEWART F. PECK (#10403)
                                       JAMES W. THURMAN (#38494)
                                       601 Poydras Street Suite 2775
                                       New Orleans, LA 70130
                                       Telephone: (504) 568-1990
                                       Facsimile: (504) 310-9195
                                       Email: speck@lawal.com;
                                       jthurman@lawla.com

                                       Attorneys for Louisiana Machinery, L.L.C.
                                       d/b/a Resource Power Group




                                   7
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                              Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20  Page 9 of 28
                                                                              Terms and Conditions are available
                                                                                                                              for viewing/printing on our website
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                  A Division of LOUISIANA MACHINERY CO. L.L.C.
                  dba Resource Power Group
                  CORPORATE HEADQUARTERS
                  3799 West Airline Hwy.-P.O. Drawer 536
                  Reserve, LA 70084-0536
                  985-536-1121




                  SOLD TO:                                                                                         SHIP TO:




                  BOUCHARD TRANSPORTATION CO
                  58 S SERVICE RD STE 150
                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C6685217                    11-20-17                    100046                        9098948                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000406                            11-20-17                        14                             10                                              6542983
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            1   40164578             PWR PACK           S                                                                                   4440.17              4440.17
                                      TOTAL PARTS                                                                                                                4440.17 T
                                     MAK MKT 10% DISC                                                                                                             444.02-T
                                         SUBTOTAL BEFORE TAXES                                                                                                   3996.15
                                   .
                                                       USD                                                                                                       3996.15




                                                                                                                                                                    EXHIBIT
                                                                                                                                                                       A

TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         3,996.15
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
agent. Claims for concealed shortages and/or damages will not be considered unless made in 15 days after                  CREDIT
receipt of shipment. Any changes in part numbers have been made to insure your receiving the latest improved
parts, entirely interchangeable with those ordered, and there is a 5% special handling charge on all nonstock          (DO NOT PAY)
items. Notice: In consideration of credit extended for this purchase I (we) hereby agree to pay you for same at
your office in Reserve, La. on your established terms, and to pay service charge at the current rate for all                   * * ALL AMOUNTS PAYABLE IN US DOLLARS * *
invoices not paid within 30 days of invoice date until paid. Further, in the event it becomes necessary to refer      ALL BILLS PAYABLE AT P.O. BOX 54942, NEW ORLEANS, LA. 70154
this invoice to an attorney for collection, I agree to pay 25% attorneys fees and court costs.


                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 10 of 28
                                                                             Terms and Conditions are available
                                                                                                                              for viewing/printing on our website
                                                                                                                              at www.louisianacat.com
                  A Division of LOUISIANA MACHINERY CO. L.L.C.
                  dba Resource Power Group
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                  Reserve, LA 70084-0536
                  985-536-1121




                  SOLD TO:                                                                                         SHIP TO:




                  BOUCHARD TRANSPORTATION CO
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                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C6744237                    01-26-18                    100046                        9048641                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000405                            11-17-17                        14                             10                                              6596233
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            8   9095844              SEAL.. O-ring - Va S                                                                                     39.70                 317.60
            8   9095821              SEAL.. O-ring - Ha N                                                                                      1.56                  12.48
                                      TOTAL PARTS                                                                                                                   330.08 T
                                     MAK MKT 10% DISC                                                                                                                33.01-T
                                         SUBTOTAL BEFORE TAXES                                                                                                      297.07
                                   .
                                                       USD                                                                                                          297.07




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         297.07
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
agent. Claims for concealed shortages and/or damages will not be considered unless made in 15 days after                  CREDIT
receipt of shipment. Any changes in part numbers have been made to insure your receiving the latest improved
parts, entirely interchangeable with those ordered, and there is a 5% special handling charge on all nonstock          (DO NOT PAY)
items. Notice: In consideration of credit extended for this purchase I (we) hereby agree to pay you for same at
your office in Reserve, La. on your established terms, and to pay service charge at the current rate for all                   * * ALL AMOUNTS PAYABLE IN US DOLLARS * *
invoices not paid within 30 days of invoice date until paid. Further, in the event it becomes necessary to refer      ALL BILLS PAYABLE AT P.O. BOX 54942, NEW ORLEANS, LA. 70154
this invoice to an attorney for collection, I agree to pay 25% attorneys fees and court costs.


                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 11 of 28
                                                                             Terms and Conditions are available
                                                                                                                              for viewing/printing on our website
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                  3799 West Airline Hwy.-P.O. Drawer 536
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                  SOLD TO:                                                                                         SHIP TO:




                  BOUCHARD TRANSPORTATION CO
                  58 S SERVICE RD STE 150
                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C6759949                    02-09-18                    100046                        9049967                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000426                            01-23-18                        14                             10                                              6609689
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            8   8463812              O-RING-COVER       S                                                                                      9.88                 79.04
                                      TOTAL PARTS                                                                                                                   79.04 T
                                     MAK MKT 10% DISC                                                                                                                7.90-T
                                         SUBTOTAL BEFORE TAXES                                                                                                      71.14
                                   .
                                                       USD                                                                                                          71.14




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         71.14
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
agent. Claims for concealed shortages and/or damages will not be considered unless made in 15 days after                  CREDIT
receipt of shipment. Any changes in part numbers have been made to insure your receiving the latest improved
parts, entirely interchangeable with those ordered, and there is a 5% special handling charge on all nonstock          (DO NOT PAY)
items. Notice: In consideration of credit extended for this purchase I (we) hereby agree to pay you for same at
your office in Reserve, La. on your established terms, and to pay service charge at the current rate for all                   * * ALL AMOUNTS PAYABLE IN US DOLLARS * *
invoices not paid within 30 days of invoice date until paid. Further, in the event it becomes necessary to refer      ALL BILLS PAYABLE AT P.O. BOX 54942, NEW ORLEANS, LA. 70154
this invoice to an attorney for collection, I agree to pay 25% attorneys fees and court costs.


                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 12 of 28
                                                                             Terms and Conditions are available
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                  Reserve, LA 70084-0536
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                  SOLD TO:                                                                                         SHIP TO:




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                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C6800314                    03-23-18                    100046                        9051266                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000470                            03-22-18                        14                             10                                              6647026
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           MX                       MAK                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            2   40036607             KIT.. Cylinder tes S                                                                                   208.15                  416.30
            4   40040025             GASKET.. Water inl S                                                                                     2.00                    8.00
            4   9317972              SEAL..O-ring-Water S                                                                                      .73                    2.92
                                      TOTAL PARTS                                                                                                                   427.22 T
                                         SUBTOTAL BEFORE TAXES                                                                                                      427.22
                                   .
                                                       USD                                                                                                          427.22




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         427.22
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
agent. Claims for concealed shortages and/or damages will not be considered unless made in 15 days after                  CREDIT
receipt of shipment. Any changes in part numbers have been made to insure your receiving the latest improved
parts, entirely interchangeable with those ordered, and there is a 5% special handling charge on all nonstock          (DO NOT PAY)
items. Notice: In consideration of credit extended for this purchase I (we) hereby agree to pay you for same at
your office in Reserve, La. on your established terms, and to pay service charge at the current rate for all                   * * ALL AMOUNTS PAYABLE IN US DOLLARS * *
invoices not paid within 30 days of invoice date until paid. Further, in the event it becomes necessary to refer      ALL BILLS PAYABLE AT P.O. BOX 54942, NEW ORLEANS, LA. 70154
this invoice to an attorney for collection, I agree to pay 25% attorneys fees and court costs.


                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 13 of 28
                                                                             Terms and Conditions are available
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                  Reserve, LA 70084-0536
                  985-536-1121




                  SOLD TO:                                                                                         SHIP TO:




                  BOUCHARD TRANSPORTATION CO
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   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C6809072                    03-31-18                    100046                        9051279                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000471                            03-23-18                        14                             10                                              6655543
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            2   40140840             MOUNTING BOX-EMDEC N                                                                                  22668.69            45337.38
            2   40038643             SENSOR.. Turbochar N                                                                                    549.68             1099.36
                                      TOTAL PARTS                                                                                                              46436.74 T
                                         SUBTOTAL BEFORE TAXES                                                                                                 46436.74
                                   .
                                                       USD                                                                                                     46436.74




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         46,436.74
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
agent. Claims for concealed shortages and/or damages will not be considered unless made in 15 days after                  CREDIT
receipt of shipment. Any changes in part numbers have been made to insure your receiving the latest improved
parts, entirely interchangeable with those ordered, and there is a 5% special handling charge on all nonstock          (DO NOT PAY)
items. Notice: In consideration of credit extended for this purchase I (we) hereby agree to pay you for same at
your office in Reserve, La. on your established terms, and to pay service charge at the current rate for all                   * * ALL AMOUNTS PAYABLE IN US DOLLARS * *
invoices not paid within 30 days of invoice date until paid. Further, in the event it becomes necessary to refer      ALL BILLS PAYABLE AT P.O. BOX 54942, NEW ORLEANS, LA. 70154
this invoice to an attorney for collection, I agree to pay 25% attorneys fees and court costs.


                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 14 of 28
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                  dba Resource Power Group
                  CORPORATE HEADQUARTERS
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                  Reserve, LA 70084-0536
                  985-536-1121




                  SOLD TO:                                                                                         SHIP TO:




                  BOUCHARD TRANSPORTATION CO
                  58 S SERVICE RD STE 150
                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C6827243                    04-18-18                    100046                        8025523                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000481                            03-29-18                        14                             10                                              6671297
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            1   40160554             HARNESS            S                                                                                   3256.06              3256.06
                                      TOTAL PARTS                                                                                                                3256.06 T
                                         SUBTOTAL BEFORE TAXES                                                                                                   3256.06
                                   .
                                                       USD                                                                                                       3256.06




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         3,256.06
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
agent. Claims for concealed shortages and/or damages will not be considered unless made in 15 days after                  CREDIT
receipt of shipment. Any changes in part numbers have been made to insure your receiving the latest improved
parts, entirely interchangeable with those ordered, and there is a 5% special handling charge on all nonstock          (DO NOT PAY)
items. Notice: In consideration of credit extended for this purchase I (we) hereby agree to pay you for same at
your office in Reserve, La. on your established terms, and to pay service charge at the current rate for all                   * * ALL AMOUNTS PAYABLE IN US DOLLARS * *
invoices not paid within 30 days of invoice date until paid. Further, in the event it becomes necessary to refer      ALL BILLS PAYABLE AT P.O. BOX 54942, NEW ORLEANS, LA. 70154
this invoice to an attorney for collection, I agree to pay 25% attorneys fees and court costs.


                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 15 of 28
                                                                             Terms and Conditions are available
                                                                                                                              for viewing/printing on our website
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                  Reserve, LA 70084-0536
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                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C6891619                    06-15-18                    100046                        9051051                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000518                            06-15-18                        14                             10                                              6730199
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            1   40049620             CLAMP-HOSE T-BOLT S                                                                                     45.03                   45.03
            2   40049619             SEAL                S                                                                                   21.19                   42.38
            1   8158870              CLAMP-HOSE T-BOLT N                                                                                    507.55                  507.55
                                      TOTAL PARTS                                                                                                                   594.96 T
                                          SUBTOTAL BEFORE TAXES                                                                                                     594.96
                                   .
                                                        USD                                                                                                         594.96




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         594.96
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
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                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 16 of 28
                                                                             Terms and Conditions are available
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                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C6932911                    07-26-18                    100046                        9053173                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000541                            07-26-18                        14                             10                                              6768407
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            6   8463812              O-RING-COVER        S                                                                                   10.38                   62.28
            4   8479604              SEAL                S                                                                                    9.41                   37.64
            8   8028103              PIN.. Clevis        S                                                                                    2.57                   20.56
           35   148147               RETAINER.. Clevis S                                                                                       .20                    7.00
            5   9575235              THERMOCOUPLE.. Exh S                                                                                   116.73                  583.65
            1   9580731              GASKET-KIT WATER P S                                                                                    44.70                   44.70
                                      TOTAL PARTS                                                                                                                   755.83 T
                                          SUBTOTAL BEFORE TAXES                                                                                                     755.83
                                   .
                                                        USD                                                                                                         755.83




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         755.83
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
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                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 17 of 28
                                                                             Terms and Conditions are available
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   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C6967816                    08-28-18                    100046                        8026697                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000560                            08-28-18                        14                             10                                              6800438
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            3   9580731              GASKET-KIT WATER P S                                                                                     44.70               134.10
            1   8364236              WATER PUMP ASM-RB S                                                                                    2945.71              2945.71
                                      TOTAL PARTS                                                                                                                3079.81 T
                                         SUBTOTAL BEFORE TAXES                                                                                                   3079.81
                                   .
                                                       USD                                                                                                       3079.81




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         3,079.81
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
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                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 18 of 28
                                                                             Terms and Conditions are available
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                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C7054851                    11-20-18                    100046                        9055231                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000610                            11-19-18                        14                             10                                              6878375
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            4   40079154             SENSOR.. Pressure S                                                                                    652.37               2609.48
                                      TOTAL PARTS                                                                                                                2609.48 T
                                         SUBTOTAL BEFORE TAXES                                                                                                   2609.48
                                   .
                                                       USD                                                                                                       2609.48




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         2,609.48
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
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   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C7124278                    01-31-19                    100046                        9055557                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000642                            01-31-19                        14                             10                                              6941277
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            1   8408987              JOINT ASSEMBLY.. A S                                                                                   1691.50              1691.50
            2   40026938             GASKET.. Adapter a S                                                                                     41.34                82.68
            2   40026939             GASKET.. Expansion S                                                                                     42.07                84.14
            1   8408987              JOINT ASSEMBLY.. A S                                                                                   1691.50              1691.50
                                      TOTAL PARTS                                                                                                                3549.82 T
                                         SUBTOTAL BEFORE TAXES                                                                                                   3549.82
                                   .
                                                       USD                                                                                                       3549.82




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         3,549.82
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
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                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 20 of 28
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                  985-536-1121




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   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C7154249                    02-28-19                    100046                        9056663                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000660                            02-22-19                        14                             10                                              6968053
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            2   9094557              LATCH ASSEMBLY.. I S                                                                                    22.59                 45.18
           64   436591               SCREW.. Slotted pa S                                                                                      .23                 14.72
           64   446186               WASHER.. Flat No. S                                                                                       .27                 17.28
           64   8032813              NUT.. Hex lock 10- S                                                                                      .15                  9.60
            2   9580742              KIT.. Gasket - Lub S                                                                                   100.64                201.28
            6   40039273             GASKET.. Strainer S                                                                                     23.52                141.12
            6   8498896              LATCH ASM          N                                                                                    31.70                190.20
           30   9094557              LATCH ASSEMBLY.. I S                                                                                    22.59                677.70
                                      TOTAL PARTS                                                                                                                1297.08 T
                                         SUBTOTAL BEFORE TAXES                                                                                                   1297.08
                                   .
                                                       USD                                                                                                       1297.08




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         1,297.08
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
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                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 21 of 28
                                                                             Terms and Conditions are available
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                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C7216022                    04-30-19                    100046                        9057651                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000690                            04-30-19                        14                             10                                              7023311
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            1   40298102             PWR AY-B-G-T3-EXP- S                                                                                   8425.35              8425.35
                                      TOTAL PARTS                                                                                                                8425.35 T
                                         SUBTOTAL BEFORE TAXES                                                                                                   8425.35
                                   .
                                                       USD                                                                                                       8425.35




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         8,425.35
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
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                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 22 of 28
                                                                             Terms and Conditions are available
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   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C7217206                    04-30-19                    100046                        9057670                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000689                            04-29-19                        14                             10                                              7024495
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            4   9570765              GASKET.. Soakback S                                                                                       2.34                 9.36
            4   8358905              SEAL.. O-ring - Lu S                                                                                      2.35                 9.40
            6   8463812              O-RING-COVER       S                                                                                     10.59                63.54
            4   9570668              GASKET             S                                                                                      4.23                16.92
            2   9518929              HOSE ASM.. Air sta S                                                                                     13.48                26.96
            2   9518930              HOSE ASM.. Air sta S                                                                                     14.39                28.78
            2   9084409              INJ CONT SHAFT ASM N                                                                                   1084.49              2168.98
            1   8366231              COVER. Filter      N                                                                                   1341.15              1341.15
            2   8400753              HOSE ASM.. Air sta N                                                                                     44.33                88.66
            4   9402713              CONNECTOR-1 HYD    N                                                                                      7.23                28.92
                                      TOTAL PARTS                                                                                                                3782.67 T
                                         SUBTOTAL BEFORE TAXES                                                                                                   3782.67
                                   .
                                                       USD                                                                                                       3782.67




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         3,782.67
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
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in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
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receipt of shipment. Any changes in part numbers have been made to insure your receiving the latest improved
parts, entirely interchangeable with those ordered, and there is a 5% special handling charge on all nonstock          (DO NOT PAY)
items. Notice: In consideration of credit extended for this purchase I (we) hereby agree to pay you for same at
your office in Reserve, La. on your established terms, and to pay service charge at the current rate for all                   * * ALL AMOUNTS PAYABLE IN US DOLLARS * *
invoices not paid within 30 days of invoice date until paid. Further, in the event it becomes necessary to refer      ALL BILLS PAYABLE AT P.O. BOX 54942, NEW ORLEANS, LA. 70154
this invoice to an attorney for collection, I agree to pay 25% attorneys fees and court costs.


                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 23 of 28
                                                                             Terms and Conditions are available
                                                                                                                              for viewing/printing on our website
                                                                                                                              at www.louisianacat.com
                  A Division of LOUISIANA MACHINERY CO. L.L.C.
                  dba Resource Power Group
                  CORPORATE HEADQUARTERS
                  3799 West Airline Hwy.-P.O. Drawer 536
                  Reserve, LA 70084-0536
                  985-536-1121




                  SOLD TO:                                                                                         SHIP TO:




                  BOUCHARD TRANSPORTATION CO
                  THA
                  58 S SERVICE RD STE 150
                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C7220917                    05-02-19                    100046                        9056847                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000692                            05-01-19                        14                             10                                              7028136
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            2   40040019             GASKET.. Flange    S                                                                                      4.13                8.26
            2   40040028             GASKET.. Water pum S                                                                                      3.53                7.06
            1   40177699             WATER PUMP         S                                                                                  11817.49            11817.49
            2   9097490              VALVE ASSEMBLY.. M N                                                                                    695.98             1391.96
                                      TOTAL PARTS                                                                                                              13224.77 T
                                         SUBTOTAL BEFORE TAXES                                                                                                 13224.77
                                   .
                                                       USD                                                                                                     13224.77




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         13,224.77
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
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your office in Reserve, La. on your established terms, and to pay service charge at the current rate for all                   * * ALL AMOUNTS PAYABLE IN US DOLLARS * *
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this invoice to an attorney for collection, I agree to pay 25% attorneys fees and court costs.


                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 24 of 28
                                                                             Terms and Conditions are available
                                                                                                                              for viewing/printing on our website
                                                                                                                              at www.louisianacat.com
                  A Division of LOUISIANA MACHINERY CO. L.L.C.
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                  3799 West Airline Hwy.-P.O. Drawer 536
                  Reserve, LA 70084-0536
                  985-536-1121




                  SOLD TO:                                                                                         SHIP TO:




                  BOUCHARD TRANSPORTATION CO
                  THA
                  58 S SERVICE RD STE 150
                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C7286375                    07-04-19                    100046                        9057982                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000718                            07-02-19                        14                             10                                              7087205
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
          100   9570739              GASKET.. Manifold S                                                                                       .64                 64.00
           20   40024937             GASKET.. Fuel filt S                                                                                      .90                 18.00
           10   40024936             GASKET             S                                                                                     1.34                 13.40
            1   8419842              PIPE ASM           N                                                                                   866.34                866.34
            1   8498493              PIPE ASM           N                                                                                   355.00                355.00
            2   8419674              FUEL OIL MANIF ASM N                                                                                   582.89               1165.78
                                      TOTAL PARTS                                                                                                                2482.52 T
                                         SUBTOTAL BEFORE TAXES                                                                                                   2482.52
                                   .
                                                       USD                                                                                                       2482.52




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         2,482.52
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
returnable to the factory are non returnable to us. Our responsibility ceases when shipment has been delivered
in good order to transportation company. If the shipment arrives in bad order, have receipt noted by carriers            AMOUNT
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                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 25 of 28
                                                                             Terms and Conditions are available
                                                                                                                              for viewing/printing on our website
                                                                                                                              at www.louisianacat.com
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                  3799 West Airline Hwy.-P.O. Drawer 536
                  Reserve, LA 70084-0536
                  985-536-1121




                  SOLD TO:                                                                                         SHIP TO:




                  BOUCHARD TRANSPORTATION CO
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                  58 S SERVICE RD STE 150
                  MELVILLE NY 11747-2342



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   P43C7286376                    07-04-19                    100046                        9058083                      43          E             CJS          2      1 of 1
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
         43C000719                            07-02-19                        14                             10                                              7087206
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                       EMD                              0070U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
        PARTS SALES PERSON: CHIMAS J SYLVE
            2   40298102             PWR AY-B-G-T3-EXP- N                                                                                   8425.35            16850.70
                                      TOTAL PARTS                                                                                                              16850.70 T
                                         SUBTOTAL BEFORE TAXES                                                                                                 16850.70
                                   .
                                                       USD                                                                                                     16850.70




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         16,850.70
We cannot accept parts returned without our permission unless returned within 20 days. All parts non
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                                                                                                                              ORIGINAL INVOICE
                             Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 26 of 28
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                  Reserve, LA 70084-0536
                  985-536-1121




                  SOLD TO:                                                                                         SHIP TO:




                  BOUCHARD TRANSPORTATION CO
                  58 S SERVICE RD STE 150
                  MELVILLE NY 11747



   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   W43C6938684                    07-31-18                    100046                      FREDERICK                      43          E             MXM          2      1 of 2
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
           4300702                            06-26-18                        14              10             10                                              6774033
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                                                        0700U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
          INSPECT ENGINE
           PERFORM ENGINE INSPECTION
           AFTER INSPECTING THE VESSEL M/V BRENDAN BOUCHARD
           WE FOUND THAT THE EXHAUST GASKETS HAVE ALL BEEN
           REPLACED WITH AFTERMARKET GASKETS. THE GASKETS
           FEELS LIKE METAL. POSSIBLY WEARING INTO THE BOLTS
           WHICH IS WHY SO MANY BOLTS ARE CONSTANTLY
           BREAKING AND BEING REPLACED. THIS PROFORMA
           INVOICE IS WHATS NEEDED TO REPAIR THE EXHAUST ON
           BOTH ENGINES.
                                        TOTAL LABOR         SEG. 01                                                                                              2265.60 *
             1.00                       OP-PERDIEM 2DAYS                                                                                                          133.40
             1.00                       BJ-PERDIEM 2DYS                                                                                                           133.40
             1.00                       BJ-CC-TAXI                                                                                                                 95.42
             1.00                       RGVRA-CCRATE-ITA                                                                                                           33.35
             1.00                       OP-BJ-TRAV.EXP                                                                                                           2209.13
                                        TOTAL MISC CHGS     SEG. 01                                                                                              2604.70 *
                                         SEGMENT 01 TOTAL                                                                                                        4870.30 T
             -------------------------------------------------------------------------------
                                     SUBTOTAL BEFORE TAXES                                                                                                       4870.30
          YOUR CONTINUED BUSINESS IS IMPORTANT TO US. FOR THIS REASON, YOU MAY
          BE CONTACTED BY THE DANIEL GROUP, AN INDEPENDENT RESEARCH FIRM, TO
          CONDUCT A PHONE SURVEY. WE APPRECIATE YOUR INPUT ON OUR PERFORMANCE
          IN OUR EFFORTS TO BETTER SERVE YOU. IF YOU FEEL WE HAVE FAILED TO


TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT
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   INVOICE NUMBER                   INVDATE               CUSTOMER NO               CUSTOMER ORDER NO                  STORE         DIV     SALESMAN         TERMS       PAGE
   W43C6938684                    07-31-18                    100046                      FREDERICK                      43          E             MXM          2      2 of 2
          PSO/WO NO.                           DOC.DATE                       PC              LC             MC                  SHIP VIA                   INV SEQ NO.
           4300702                            06-26-18                        14              10             10                                              6774033
         MAKE                     MODEL                        SERIAL NUMBER                       EQUIPMENT NUMBER               METER READING              MACH. ID NO.
           EM                                                        0700U
    QUANITY                    ITEM                         N/R                              DESCRIPTION                              UNIT PRICE              EXTENSION
          DELIVER SERVICE EXCELLENCE IN ANY WAY, PLEASE DO NOT HESITATE TO
          CONTACT OUR SERVICE MANAGER.
                                  .
                                          USD                                                                                                                    4870.30




TERMS:                                                *-NOT RETURNABLE
UNLESS NOTED-CORES ARE DUE BACK WITHIN 60 DAYS FOR CREDIT CONSIDERATION                                                   PAY THIS
                                                                                                                          AMOUNT                         4,870.30
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                                                                                                                              ORIGINAL INVOICE
                           Case 2:19-cv-14666-SM-JVM Document 26 Filed 01/27/20 Page 28 of 28




                                  BOUCHARD TRANSPORTATION CO, INC. INVOICE REPORT


DOC DATE      DOC TYPE   DOC NUMBER JOB # PTS TICKET   SERIAL #   CUST PO# DOC VALUE
 11/10/2017   P43C       6677769    43C000396          0070U      9048671        297.07   MV FRED BOUCHARD
 11/20/2017   P43C       6685217    43C000406          0070U      9098948      3,996.15
  1/26/2018   P43C       6744237    43C000405          0070U      9048641        297.07
   2/9/2018   P43C       6759949    43C000426          0070U      9049967         71.14   MV BRENDAN BOUCHARD
  3/23/2018   P43C       6800314    43C000470          0070U      9051266        427.22   MV DENISE BOUCHARD
  3/31/2018   P43C       6809072    43C000471          0070U      9051279     46,436.74   MV RALPH BOUCHARD
  4/18/2018   P43C       6827243    43C000481          0070U      8025523      3,256.06   MV KIM BOUCHARD
  6/15/2018   P43C       6891619    43C000518          0070U      9051051        594.96   MV EVENING MIST
  7/26/2018   P43C       6932911    43C000541          0070U      9053173        755.83   MV RALPH E BOUCHARD
  7/31/2018   W43C       6938684    4300702            0700U      FREDERICK    4,870.30   MV MV BRENDAN BOUCHARD
  8/28/2018   P43C       6967816    43C000560          0070U      8026697      3,079.81   MV BARBARA BOUCHARD
 11/20/2018   P43C       7054851    43C000610          0070U      9055231      1,690.40   MV DONNA
  1/31/2019   P43C       7124278    43C000642          0070U      9055557      1,774.91   MV FREDERICK
  2/28/2019   P43C       7154249    43C000660          0070U      9056663        804.50   MV FREDERICK
  4/30/2019   P43C       7216022    43C000690          0070U      9057651      8,425.35   MV FREDERICK
  4/30/2019   P43C       7217206    43C000689          0070U      9057670      3,782.67   MV BOUCHARD GIRLS
   5/2/2019   P43C       7220917    43C000692          0070U      9056847     13,224.77   MV DONNA BOUCHARD
   7/4/2019   P43C       7286375    43C000718          0070U      9057982      2,482.52   MV FREDERICK
   7/4/2019   P43C       7286376    43C000719          0070U      9058083     16,850.70   MV FREDERICK
                                                                             113,118.17




                                                                                                              EXHIBIT
                                                                                                                   B
